 Case 2:14-cv-10933-PDB-LJM ECF No. 6 filed 02/03/15                  PageID.15      Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

                                                 :
Tanya Rosales ,                                  :
                                                 : Civil Action No.: 2:14-cv-10933
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                 :
Credit Acceptance Corporation; and DOES 1-       :
10, inclusive,                                   :
                                                 :
                      Defendants.                :


                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: February 3, 2015

                                                     Respectfully submitted,

                                                     By __/s/ Sergei Lemberg____________

                                                     Sergei Lemberg, Esq.
                                                     LEMBERG LAW, L.L.C.
                                                     1100 Summer Street, 3rd Floor
                                                     Stamford, CT 06905
                                                     Telephone: (203) 653-2250
                                                     Facsimile: (203) 653-3424
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 3, 2015, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Eastern District of Michigan
Electronic Document Filing System (ECF), which gave notice of such filing to the following:

Stephen W. King (P56456)
KING AND MURRAY PLLC
355 S. Old Woodward, Suite 100
Birmingham, Michigan 48009
                                             By /s/ Sergei Lemberg
                                                    Sergei Lemberg, Esq.
